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IN 'I`HE UNITED STA'[`ES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA *
* CRIMINAL NO.
w
v. * (18 U.S.C. §§ 2, 371, 981(a)(1)(C), 982,
* 1001(a),1956(h), and 3551§; §§g.; 22
PAUl., J. MANAFORT, JR. and * U.S.C. §§ 612(&), 618(a)(1), and
R.ICHARD W. GATF.S llI, "‘ 618(a)(2); 28 U.S.C. § 2461(::); 31 U.S.C.
* §§ 5314 and 5322(b))
Def`cndants. "‘
*s*****
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The Grand J for the D1strict of Columbla char es: ase; 1;17_¢¢_00204 ix
my g Zssigned To '. Judge Jackson, Amy Berman

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At all times relevant to this Indictment: `
1. Defendants PAUL J. MANAFORT, IR., (MANAFORT) and RICHARD W. GA'I`BS Ill
(GA'I'ES) served for years as political consultants and lobbyists. Between at least 2006 and 2015,
MANAFORT and GATES acted as unregistered agents of the Government of Ukraine, the Pa.ny
ofRegions (a Ukrainian political party whose leader Victor Yanukovych was President from 2010
to 2014), Yanukovych, and the Opposition Bloc (a successor to the Party of Regions that formed
in 2014 when Yanukovych fled to Russia). MANAFORT and GATES generated tens of millions
of dollars in income as a result of their Ukraine work. 111 order to hide Ukraine payments from
United States authorities, from approximately 2006 through at least 2016, MANAFORT and

GATES laundered the money through scores of United States and foreign corporations

partnerships and bank accounts

 

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2. In furtherance of the scheme, MANAFORT and GATES funneled millions of dollars in
payments into foreign nominee companies and bank accounts, opened by them and their
accomplices in nominee names and in various foreign countries, including Cyprus, Saint Vincent
& the Grenadines (Grenadines), and the Seychelles. MANAFORT and GATES hid the existence
of the foreign companies and bank accounts, falsely and repeatedly reporting to their tax preparers
and to the United States that they had no foreign bank accounts.

3. In furtherance of the scheme, MANAFORT and GATES concealed from the United States
their work as agents of, and millions of dollars in payments frorn, Ukraine and its political parties
and leaders. Because MANAFORT and GATES, among other things, directed a campaign to
lobby United States officials on behalf of the Govemment of Ukraine, the President of Ukraine,
and Ukrainian political parties, they were required by law to report to the United States their work
and fees. MANAFORT and GATES did not do so. lnstead, when the Department of Justice sent
inquiries to MANAFORT and GATES in 2016 about their activities, MANAFORT and GATES
responded with a series of false and misleading statements

4. In furtherance of the scheme, MANAFORT used his hidden overseas wealth to enjoy a
lavish lifestyle in the United States, without paying taxes on that income MANAFORT, without
reporting the income to his tax preparer or the United States, spent millions of dollars on luxury
goods and services for himself and his extended family through payments wired from offshore
nominee accounts to United States vendors. MANAFORT also used these offshore accounts to
purchase multi-million dollar properties in the United States. MANAFORT then borrowed
millions of dollars in loans using these properties as collaterai, thereby obtaining cash in the United
States without reporting and paying taxes on the income In order to increase the amount of money
he could access in the United States, MANAFORT defrauded the institutions that loaned money

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on these properties so that they would lend him more money at more favorable rates than he Would
otherwise be able to obtain.
_5. GATES aided MANAFORT in obtaining money from these offshore accounts, which he
was instrumental in opening. Like MANAFORT, GATES used money from these offshore
accounts to pay for his personal expenses, including his mortgage, children’s tuition, and interior
decorating of his Virginia residence
6. In total, more than $75,000,000 flowed through the offshore accounts. MANAFORT
laundered more than $18,000,000, which was used by him to buy property, goods, and services in
the United States, income that he concealed from the United States Treasury, the Department of
Justice, and others. GATES transferred more than $3,000,000 from the offshore accounts to other
accounts that he controlled.

Relevant Individuals And Entities
7. MANAFORT was a United States citizen. He resided in homes in Virginia, Florida, and
Long Island, New York.
8. GATES was a United States citizen. He resided in Virginia.
9. In 2005, MANAFORT and another partner created Davis Manafort Partners, Inc. (DMP) to
engage principally in political consulting DMP had staff in the United States, Ukraine, and
Russia. In 201 l, MANAFORT created DMP International, LLC (DMI) to engage in work for
foreign clients, in particular political consulting, lobbying, and public relations for the Government
of Ukraine, the Party of Regions, and members of the Party of Regions. DMI was a partnership
solely owned by MANAFORT and his spouse. GATES worked for both DMP and DMI and
served as MANAFORT’s right-hand man.
10. The Party of Regions was a pro-Russia political party in Ukraine. Beginning in

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approximately 2006, it retained MANAFORT, through DMP and then DMI, to advance its
interests in Ukraine, including the election of its slate of candidates In 2010, its candidate for
President, Yanukovych, was elected President of Ukraine. In 2014, Yanukovych fled Ukraine for
Russia in the wake of popular protests of Widespread governmental corruption Yanukovych, the
Party of Regions, and the Government of Ukraine were MANAFORT, DMP, and DMI clients.
ll. The European Centre for a Modem Ukraine (the Centre) was created in or about 2012 in
Belgium as a mouthpiece for Yanukovych and the Party of Regions. The Centre was used by
MANAFORT, GATES, and others in order to lobby and conduct a public relations campaign in
the United States and Europe on behalf of the existing Ukraine regime The Centre effectively
ceased to operate upon the downfall of Yanukovych in 2014,

12. MANAFORT and GATES owned or controlled the following entities, which were used in

the scheme (the MANAFORT~GATES entities):

 

 

 
    

 

 

 

 

 

 

 

 

Domestic Entities

mqu mcarpora¢wnLo¢avon
Bade LLC (RG) ' January 2012 Delaware

August 2008 Virginia
Daisy Manafort, LLC (PM)

March 201 l Florida
Davis Manafort International LLC March 2007 Delaware
(PM)

March 2005 Virginia
DMP (PM)

March 201 1 Florida

October 1999 Delaware
Davis Manafort, Inc. (PM)

November 1999 Virginia

 

 

 

 

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June 2011 Delaware
DMI (PM)

March 2012 Florida
Global Sites LLC (PM, RG) July 2008 Delaware
Jemina LLC (RG) July 2008 Delaware
Jesand lnvestment Corporation (PM) April 2002 Virginia
Jesand Investments Corporation (PM) March 2011 Florida

April 2006 Virginia
John Hannah, LLC (PM)

. March 201 l Florida
Jupiter Holdings Management, LLC January 2011 Delaware
(RG)

Lilred, LLC (PM) December 2011 Florida
LOAV Ltd. (PM) April 1992 Delaware
MC Brooklyn Holdings, LLC (PM) November 2012 New York

January 2012 Florida
MC Soho Holdings, LLC (PM)

April 2012 New York
Smythson LLC (also known as July 2008 Delaware
Symthson LLC) (PM, RG)

Cypriot Entities

Entity Name Date Created Incorporation Location
Actinet Trading Limited (PM, RG) May 2009 Cyprus
Black Sea View Limited (PM, RG) August 2007 Cyprus

 

 

 

 

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Entity Name 4 Date Created Incorporation Location
Bletilla Ventures Limited (PM, RG) October 2010 Cyprus
Cavenari lnvestrnents Limited (RG) December 2007 Cyprus
Globar Highway Limited (PM, RG) Augusc 2007 cyprus
Leviathan Advisors Limited (PM, RG) August 2007 Cyprus
LOAV Advisors Limited (PM, RG) `August 2007 Cyprus
Lucicle Consultants Limited (PM, RG) December 2008 Cyprus
Marziola Holdings Limited (PM) March 2012 Cyprus
Olivenia Trading Limited (PM, RG) March 2012 Cyprus
Peranova Holdings Limited (PM, RG) June 2007 Cyprus
Serangon Holdings Limited (PM, RG) January 2008 Cyprus
Other Foreign Entities
Entity Name . Date Created Incorporation Location
Global Endeavour Inc. (also known as Unknown Grenadines
Global Endeavor Inc.) (PM)
Jeunet Ltd. (PM) August 2011 Grenadines
Pompolo Limited (RG) Apri12013 United Kingdom

 

 

 

 

13. The Internal Revenue Service (IRS) was a bureau in the United States Department of the

Treasury responsible for administering the tax laws of the United States and collecting taxes owed

to the Treasury.

 

 

 

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The Scheme
14. Between in or around 2008 and 2017, both dates being approximate and inclusive, in the
District of Columbia and elsewhere, MANAFORT and GATES devised and intended to devise,
and executed and attempted to execute, a scheme and artifice to defraud, and to obtain money and
property by means of false and fraudulent pretenses, representations, and promises from the United
States, banks, and other financial institutions As part of the scheme, MANAFORT and GATES
repeatedly provided false information to financial bookkeepers, tax accountants, and legal counsel,

among others.

MANAFORT And GATES’ Wiring Of Money From Offshore Accounts lnto The United States
15 . In order to use the money in the offshore nominee accounts of the MANAFORT-GATES

entities without paying taxes on it, MANAFORT and GATES caused millions of dollars in wire
transfers from these accounts to be made for goods, services, and real estate. They did not report
these transfers as income to DMP, DMI, or MANAFORT.

16. From 2008 to 2014, MANAFORT caused the following wires, totaling over $12,000,000,
to be sent to the vendors listed below for personal items. MANAFORT did not pay taxes on this

income, which Was used to make the purchases

 

 

 

 

 

 

 

 

 

 

 

 

hyde `- -Traiisa';ctioii`r;fj "'Qr`igiiiating Ac,c`o‘unt\r j -\:Coun*ry tit :'Amouu't‘of“ '>
v ’Date‘ - \ l `Holder - - Origination Transaction
Vendor A 6/10/2008 LOAV Advisors Limited Cyprus $107,000
(Horne 6/25/2008 LOAV Advisors Limited Cyprus $23,500
Improv@mem 7/7/2008 LoAv Advisors Limited cyprus $20,000
Company in the 8/5/2008 Yiai<ora ventures Limited cyprus $59,000
Hampt°ns’ New 9/2/2008 Yiakora Ventures Limited Cyprus ` $272,000
Y°rk) 10/6/2008 Yiai<ora ventures Limited cyprus $109,000

 

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Payee ‘ v _Transactiop _' 3 z ` Qr_iginating Acc_ount` _ C_ountry of Amount of \.

z .Date z 1 _ ‘ ` ~ Holder » Origination Transaction
g 10/24/2008 Yiakora Ventures Limited Cyprus $107,800
11/20/2008 Yiakora Ventures Limited Cyprus $77,400
12/22/2008 Yiakora Ventures Limited Cyprus $100,000
1/14/2009 Yiakora Ventures Limited Cyprus $9,250
1/29/2009 Yiakora Ventures Limited Cyprus $97,670
2/25/2009 Yiakora Ventures Limited Cyprus $108,100
4/16/2009 Yiakora Ventures Limited Cyprus $94,3 94
5/7/2009 Yiakora Ventures Limited Cyprus $54,000
5/12/2009 Yiakora Ventures Limited Cyprus $9,550
6/1/2009 Yiakora Ventures Limited Cyprus $86,650
6/18/2009 Yiakora Ventures Limited Cyprus $34,400
7/31/2009 Yiakora Ventures Limited Cyprus $106,000
8/28/2009 Yiakora Ventures Limited Cyprus $37,000
9/23/2009 Yiakora Ventures Limited Cyprus $203,500
1 0/ 26/ 2009 Yiakora Ventures Limited Cyprus $3 8,8 00
1 1/18/2009 Global Highway Limited Cyprus $130,906
3/8/2010 Global Highway Limited Cyprus $124,000
5/11/2010 Global Highway Limited Cyprus $25,000
7/8/2010 Global Highway Limited Cyprus $28,000
7/23/2010 Leviathan Advisors Limited Cyprus $26,500
8/12/2010 Leviathan Advisors Limited Cyprus $138,900
9/2/2010 Yiakora Ventures Limited Cyprus $31,500
10/6/2010 Global Highway Limited Cyprus $67,600
10/14/2010 Yiakora Ventures Limited Cyprus $107,600
10/18/2010 Leviathan Advisors Limited Cyprus $3 1,500
12/16/2010 Giobai Highway Limited cyprus $4`6,160
2/7/2011 Global Highway Limited Cyprus $36,500
3/22/201 l Leviathan Advisors Limited Cyprus $26,800
4/4/2011 Leviathan Advisors Limited Cyprus $195,000
5/3/201 1 Global Highway Limited Cyprus $95,000
5/16/2011 Leviathan Advisors Limited Cyprus $6,500
5/31/2011 Leviathan Advisors Limited Cyprus $70,000
6/27/2011 Leviathan Advisors Limited Cyprus $39,900
7/27/2011 Leviathan Advisors Limited Cyprus $95,000
10/24/2011 Global Highway Limited Cyprus $22,000
10/25/2011 Global Highway Limited Cyprus $9,300
11/15/2011 Giobai Highway Limited cyprus $74,000
11/23/201 l Global Highway Limited Cyprus $22,300

 

 

 

 

 

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Payee Transaction ‘ Origiriating Account Country of Amount of
.Da,te 5 _ : 'Holder Origination Transaction

11/29/2011 Gisbsi Highway Limited cyprus $6,100

12/12/201 l Leviathan Advisors Limited Cyprus $l7,800

i/17/2012 oisbai Highway Limited cyprus $29,800

1/20/2012 Global Highway Limited Cyprus $42,600

2/9/2012 Global Highway Limited Cyprus $22,300

2/23/2012 Global Highway Limited Cyprus $75,000

2/28/2012 Global Highway Limited Cyprus $22,300

3/28/2012 Psrsrrsvu Holdings Limited cyprus $37,500

4/18/2012 Lucicle Consultants Limited Cyprus $50,000

5/15/2012 Lucicle Consultants Limited Cyprus $79,000

6/5/2012 Lucicle Consultants Limited Cyprus $45,000

6/19/2012 Lucicle Consultants Limited Cyprus $1 1,860

7/9/2012 Lucicle Consultants Limited Cyprus $10,800

7/18/2012 Lucicle Consultants Limited Cyprus $88,000

8/7/2012 Lucicle Consultants Limited Cyprus $48,800

9/27/2012 Lucicle Consultants Limited Cyprus 8100,000

11/20/2012 Lucicle Consultants Limited Cyprus $298,000

12/20/2012 Lucicle Consultants Limited Cyprus $55,000

1/29/2013 Lucicle Consultants Limited Cyprus $149,000

3/12/2013 Lucicle Consultants Limited Cyprus $375,000

8/29/2013 Global Endeavour Inc. Grenadines $200,000

1 1/13/2013 Global Endeavour Inc. Grenadines $75,000

11/26/2013 Global Endeavour Inc. Grenadines $80,000

12/6/2013 Global Endeavour Inc. Grenadines t $130,000

12/12/2013 Global Endeavour Inc. Grenadines $90,000

4/22/2014 Unknown Unknown $56,293

8/18/2014 Global Endeavour Inc. Grenadines $34,660

Vendor A Total $5,434,793

Vendor B 3/22/2011 Leviathan Advisors Limited Cyprus $12,000

(Home 3/28/201 1 Leviathan Advisors Limited Cyprus $25,000

A\ltOma'€iOIl, 4/27/2011 Leviathan Advisors Limited Cyprus $12,000

Lighfing and 5/16/2011 Leviathan Advisors Limited cyprus $25,000

H°m° _ 11/15/2011 Gisbsi Highway Limited cyprus $17,006

E“t°"am}em 11/23/2011 Gisbui Highway Limited cyprus $11,000

§1‘;;§:;1¥ m 2/23/2012 Glsbsi Highway Limited cyprus $6,200

10/31/2012 Lucicle Consultants Limited Cyprus $290,000

12/_17/2012 Lucicle Consultants Limited Cyprus 8160,600

1/15/2013 Lucicle Consultants Limited Cyprus $194,000

 

 

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Paye;e Transa_etioii_ s ) 1 O'/ri°;ginat_in_g Account Country of Amount of

\Date 1 ` " lI-Iolder Origination Transaction
1/24/2013 Lucicle Consultants Limited Cyprus $6,300
2/12/2013 Lucicle Consultants Limited Cyprus $51,600
2/26/2013 Lucicle Consultants Limited Cyprus $260,000
7/15/2013 Psmpu1s Limited Ui“t°d $175,575

Kingdorn
1 1/5/2013 Global Endeavour Inc. Grenadines $73,000
Vendor B Total $1,319,281
Vendor C 10/7/2008 Yiakora Ventures Limited Cyprus $15,750
(Antique Rug 3/17/2009 Yiakora Ventures Limited Cyprus $46,200
Sfore in 4/16/2009 Yiakora vsrrurrss Limited cyprus $7,400
Aiex_ar_ldl`ia’ 4/27/2009 Yiakora Ventures Limited Cyprus $65,000
Virglma) 5/7/2009 Yiakora Ventures Limited Cyprus $210,000
7/15/2009 Yiakora Ventures Limited Cyprus $200,000
3/3 1/2010 Yiakora Ventures Limited Cyprus $140,000
6/16/2010 Global Highway Limited Cyprus $250,000
Vendor C Total $934,350
Vendor D
(Related to 2/28/2012 Global Highway Limited Cyprus $100,000
Vendor C)

Vendor D Total $100,000
Vendor E 11/7/2008v Yiakora Ventures Limited Cyprus $32,000
(M¢n’S Clthing 2/5/2009 Yiakora Ventures Limited Cyprus $22,750
StOl'e in N¢W 4/27/2009 Yiakora Ventures Limited Cyprus $13,500
York) 10/26/2009 Yiakora Ventures Limited Cyprus $32,500
3/30/2010 Yiakora Ventures Limited Cyprus $15,000
5/11/2010 Global Highway Limited Cyprus $39,000
6/28/2010 Leviatha?Advisors Limited Cyprus $5,000
8/12/2010 Leviathan Advisors Limited . Cyprus $32,500
1 1/17/2010 Global Highway Limited Cyprus $l 1,5 00
2/7/201 1 Global Highway Limited Cyprus $24,000
3/22/2011 Leviathan Advisors Limited Cyprus $43,600
3/28/201 1 Leviathan Advisors Limited Cyprus $12,000
4/27/2011 Leviathan Advisors Limited Cyprus $3,000
6/30/2011 Global Highway Limited Cyprus $24,500
9/26/2011 Leviathan Advisors Limited Cyprus $12,000
11/2/2011 Global Highway Limited Cyprus $26,700
12/12/2011 Leviathan Advisors Limited Cyprus $46,000
2/9/2012 Global Highway Limited Cyprus $2,800

 

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Payee Transaction " `: Qriginati_ng Aecpunt ` Country of Amount of `
Date f ‘ 1 ' ~ v Holder Origtiligtion Transaction
2/28/2012 Global Highway Limited Cyprus $16,000
3/14/2012 Lucicle Consultants Limited Cyprus $8,000
4/18/2012 Lucicle Consultants Limited Cyprus $48,550
5/15/2012 Lucicle Consultants Limited Cyprus $7,000
6/19/2012 Lucicle Consultants Limited Cyprus $21,600
8/7/2012 Lucicle Consultants Limited Cyprus $15,500
11/20/2012 Lucicle Consultants Limited Cyprus $10,900
12/20/2012 Lucicle Consultants Limited Cyprus $7,500
1/15/201`3 Lucicle Consultants Limited Cyprus $37,000
2/12/2013 Lucicle Consultants Limited Cyprus $7,000
2/26/2013 Lucicle Consultants Limited Cyprus $39,000
9/3/2013 Global Endeavour Inc. Grenadines $81,500
10/15/2013 Global Endeavour Inc. Grenadines $53,000
1 1/26/2013 Global Endeavour Inc. Grenadines $13,200
4/24/2014 Global Endeavour Inc. Unknown $26,680
9/11/2014 Global Endeavour Inc. Grenadines $58,435
Vendor E Total $849,215
Vendor F 4/27/2009 Yiakora Ventures Limited Cyprus $34,000
(Landscaper in 5/12/2009 Yiakora Ventures Limited Cyprus $45,700
the Hamptons» 6/1/2009 Yiakora Ventures Limited Cyprus $21,500
New York) 6/13/2009 Yiakora ventures Limited cyprus s29,000
9/21/2009 Yiakora Ventures Limited Cyprus $21,800
5/11/2010 Global Highway Limited Cyprus $44,000
6/28/2010 Leviathan Advisors Limited Cyprus $50,000
7/23/2010 Leviathan Advisors Limited Cyprus $19,000
9/2/2010 Yiakora Ventures Limited Cyprus $21,000
10/6/2010 Global Highway Limited Cyprus $57,700
10/18/2010 Leviathan Advisors Limited Cyprus $26,000
12/16/2010 Global Highway Limited Cyprus $20,000
3/22/2011 Leviathan Advisors Limited Cyprus '$50,000
5/3/201 l Global Highway Limited Cyprus $40,000
6/1/201 1 Leviathan Advisors Limited Cyprus $44,000
7/27/2011 Leviathan Advisors Limited Cyprus $27,000
8/16/201 1 Leviathan Advisors Limited Cyprus $13,450
9/19/201 1 Leviathan Advisors Limited Cyprus $12`,000
10/24/2011 Global Highway Limited Cyprus $42,000
1 1/2/2011 Global Highway Limited Cyprus $37,350
Vendor F Total $655,500

 

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Payee 'Transaction ' ` Originating Account `Country of Amoun_t of

Date Holder Origination Transaction
Vendor G 9/2/2010 Yiakora Ventures Limited Cyprus $165,000
(Antique Dealer 10/18/2010 Leviathan Advisors Limited Cyprus $165,000
in N€W YOl`k) 2/28/2012 Global Highway Limited Cyprus $190,600
3/14/2012 Lucicle Consultants Limited Cyprus $75,000
2/26/2013 Lucicle Consultants Limited Cyprus $28,310
Vendor G Total $623,910
Vendor H 6/25/2008 LOAV Advisors Limited Cyprus $52,000
(Clothing Store in 12/16/2008 Yiakora Ventures Limited Cyprus $49,000
Beverly Hills, 12/22/2008 Yiakora Ventures Limited cyprus $10,260
Calif°mia) 8/12/2009 Yiakora Ventures Limited Cyprus $76,400
5/11/2010 Global Highway Limited Cyprus $85,000
1 1/17/2010 Global Highway Limited Cyprus $128,280
5/31/2011 Leviathan Advisors Limited Cyprus $64,000
11/15/2011 Global Highway Limited Cyprus $48,000
12/17/2012 Lucicle Consultants Limited Cyprus $7,500
Vendor H Total $520,440

Vendor I
(Investmenf 9/3/2013 Global Endeavour Inc. Grenadines $500,000
Company)

Vendor I Total $500,000
Vendor J 11/15/201 1 Global Highway Limited Cyprus $8,000
(COHfraC'fOI` in 12/5/2011 Leviathan Advisors Limited Cyprus $l 1,237
Fl<>lida) 12/21/2011 Black sea view Limited cyprus 320,000
2/9/2012 Global Highway Limited t Cyprus $51,000
5/17/2012 Lucicle Consultants Limited Cyprus $68,000
6/19/2012 Lucicle Consultants Limited Cyprus $60,000
7/18/2012 Lucicle Consultants Limited Cyprus $32,250
9/19/2012 Lucicle Consultants Limited Cyprus $112,000
11/30/2012 Lucicle Consultants Limited Cyprus $39,700
1/9/2013 Lucicle Consultants Limited Cyprus $25,600
2/28/2013 Lucicle Consultants Limited Cyprus $4,700
Vendor J Total $432,487
Vendor K 12/5/2011 Leviathan Advisors Limited Cyprus $4,115
(Landscap¢r in 3/1/2012 Giebai Highway Limited cyprus s50,000
the Hampt°ns> 6/6/2012 Lucicle Consultants Limited Cyprus $47,800
New Y°rk) 6/25/2012 Lueieie consultants Limited cyprus s17,900
6/27/2012 Lucicle Consultants Limited Cyprus $18,900

 

 

 

 

 

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Payee y ' \'llransaction: t Originating Account Country _of Amo\_irit of _ ~
‘ ‘ ~ 'Date' -p Holder Origination Transaction
2/12/2013 Lucicle Consultants Limited Cyprus $3,300
7/15/2013 Pernpeie Limited 1191th $13,325
Kingdom
11/26/2013 Global Endeavour Inc. Grenadines $9,400
Vendor K Total $l64,740
Vendor L 4/12/2012 Lucicle Consultants Limited Cyprus $83,525
(Payments 5/2/2012 Lucicle Consultants Limited Cyprus $12,525
Relating to three _ , ,
Range Rovers) 6/29/2012 Lucicle Consultants Limited Cyprus $67,655
Vendor L Total $163,705
Vendor M 11/20/2012 Lucicle Consultants Limited Cyprus $45,000
(COntraCtOr in 12/7/2012 Lucicle Consultants Limited Cyprus $21,000
Virginia) 12/17/2012 Lucicle Consultants Limited Cyprus $21,000
1/17/2013 Lucicle Consultants Limited Cyprus $18,750
1/29/2013 Lucicle Consultants Limited Cyprus $9,400
2/12/2013 Lucicle Consultants Limited Cyprus $10,500
Vendor M Total $125,650
Vendor N 1/29/2009 Yiakora Ventures Limited Cyprus $10,000
(Audio, Vid€O, 3/17/2009 Yiakora Ventures Limited Cyprus 821,725
and COntl`Ol 4/16/2009 Yiakora Ventures Limited Cyprus $24,650
Syst€m Hom¢ 12/2/2009 ciebsi Highway Limited cyprus sio,ooo
Int°grati'°n and 3/8/2010 Global Highway Limited Cyprus $20,300
I“Sta"a“°‘} 4/23/2010 Yiakora ventures Limited cyprus $8,500
Company in the
§::?(I)’t°ns’ New 7/29/2010 Leviathan Advisors Limited cyprus si7,6so
Vendor N Total $112,825
Vendor 0
(Purchase of 10/5/2012 Lucicle Consultants Limited Cyprus $62,750
Mercedes Benz)
Vendor 0 Total $62,750
Vendor P
(Purchase of 12/30/2008 Yiakora Ventures Limited Cyprus $47,000
Ran§e Rov§rl
Vendor P Total $47,000
Vendor Q 9/2/2010 Yiakora Ventures Limited Cyprus $10,000
10/6/2010 Global Highway Limited Cyprus $10,000

 

 

 

 

 

 

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P Transaction _ Originating Account Country of Amount of
ayee Date' Holder Oii§inadon Transaction
(Property 10/18/2010 Leviathan Advisors Limited Cyprus $10,000
Management 2/8/2011 Global Highway Limited Cyprus $13,500

Com any in . . .
Sout§ Carouna) 219/2012 Giobei Hrghway ernrteoi cyprus $2,500
Vendor Q Total $46,000
Vendor R 2/9/2011 Global Highway Limited Cyprus $17,900
Art Gall '
§10 d da) cry m 2/14/2013 Luoreie consuitunts Limited cyprus $14,000
Vendor R Total $31,900
Vendor S 9/26/2011 Leviathan Advisors Limited Cyprus $5,000
(Housekeeping in 9/19/2012 Lucicle Consultants Limited Cyprus $5,000
New York)
10/9/2013 Global Endeavour Inc. Grenadines $10,000
Vendor S Total $20,000
17. In 2012, MANAFORT caused the following wires to be sent to the entities listed below to

purchase the real estate also listed below. MANAFORT did not report the money used to make

these purchases on his 2012 tax return.

 

 

 

 

 

 

 

 

 

 

 

Property Originating Country of
Purchased Payee pate Account Origin Amount
Howard Street DMP Peranova Holdin s
condominium international 2/1/2012 Limited g cyprus s1,500,000
(New York) LLC
. _ Attorney Actinet Trading
gln;:vr;;t;::t Aocoum Of 1 1/29/2012 Limited Cyprus $1,800,000
_ ’ [Real Estate Actinet Trading
(New Yoik) Attomey] 1 1/29/2012 Limited Cyprus $1,200,000
Arlington .
Real Estate Lucicle Consultants
House _ Tmst 8/31/2012 Limited Cyprus $1,900,000
(Virgirna)

 

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MANAFORT And GATES’ Hi_ding Of Ukraine Lobbying And Public Relations Work

18. lt is illegal to act as an agent cfa foreign principal engaged in certain United States influence
activities without registering the affiliation Specifically, a person who engages in lobbying or
public relations work in the United States (hereafter collectively referred to as lobbying) for a
foreign principal such as the Government of Ukraine or the Party of Regions is required to provide
a detailed written registration statement to the United States Department of Justice. The filing,
made under oath, must disclose the name of the foreign principal, the financial payments to the
lobbyist, and the measures undertaken for the foreign principal, among other information A
person required to make such a filing must further make in all lobbying material a “conspicuous
statement” that the materials are distributed on behalf of the foreign principal, among other things.
The filing thus permits public awareness and evaluation of the activities of a lobbyist who acts as
an agent of a foreign power or foreign political party in the United States.

19. In furtherance of the scheme, from 2006 until 2014, both dates being approximate and
inclusive, MANAFORT and GATES engaged in a multi-million dollar lobbying campaign in the
United States at the direction of Yanukovych, the Party of Regions, and the Government of
Ulaaine. MANAFORT and GATES did so without registering and providing the disclosures
required by law.

20. As part of the scheme, in February 2012, MANAFORT and GATES solicited two
Washington, D.C., firms (Company A and Company B) to lobby in the United States on behalf of
Yanukovych, the Party of Regions, and the Government of Ukraine. For instance, GATES wrote
to Company A that it would be “representing the Government of` Ukraine in [Washington,] DC.”
21. MANAFORT repeatedly communicated in person and in writing with Yanukovych, and

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GATES passed on directions to Company A and Company B. For instance, MANAFORT wrote
Yanukovych a memorandum dated April 8, 2012, in which he provided Yanukovych an update on
the lobbying firms’ activities “since the inception of the project a few weeks ago. lt is my intention
to provide you with a weekly update moving forward.” Toward the end of that first year, in
November 2012, GATES wrote to Company A and Company B that the firms needed to prepare
an assessment of their past and prospective lobbying efforts so the “President” could be briefed by
“Paul” “on what Ukraine has done well and what it can do better as we move into 2013 .”

22. At the direction of MANAFORT and GATES, Company A and Company B engaged in
extensive lobbying Among other things, they lobbied multiple Members of Congress and their
staffs about Ukraine sanctions, the validity of Ukraine elections, and the propriety of
Yanukovych’s imprisoning his presidential rival, Yulia Tymoshenko (who had served as Ukraine
President prior to Yanukovych). MANAFORT and GATES also lobbied in connection with the
roll out of a report concerning the Tymoshenko trial commissioned by the Government of Ukraine.
MANAFORT and GATES used one of their offshore accounts to funnel $4 million to pay secretly
for the report.

23. To minimize public disclosure of their lobbying carnpaign, MANAFORT and GATES
arranged for the Centre to be the nominal client of Company A and Company B, even though in
fact the Centre was under the ultimate direction of the Government of Ukraine, Yanukovych, and
the Party of Regions. For instance, MANAFORT and GATES selected Company A and Company
B, and only thereafter did the Centre sign contracts with the lobbying firms without ever meeting
either company, Company A and Company B Were paid for their services not by their nominal
client, the Centre, but solely through off-shore accounts associated with the MANAFORT-GATES
entities, namely Bletilla Ventures Limited (in Cyprus) and Jeunet Ltd. and Global Endeavour Inc.

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(in Grenadines). ln total, Company A and Company B were paid more than $2 million from these

accounts between 2012 and 2014.

24. To conceal the scheme, MANAFORT and GATES developed a false and misleading cover

story that would distance themselves and the Government of Ukraine, Yanukovych, and the Party

of Regions from the Centre, Company A, and Company B. For instance, in the wake of extensive

press reports on MANAFORT and his connections with Ukraine, on August 16, 2016, GATES

communicated false talking points to Company B in writing, including:

Q: “Can you describe your initial contact with [Company B] and the lobbying goals
he discussed with them?” A: “We provided an introduction between the [Centre]
and {Company B/Company A] in 2012. The [Centre] was seeking to retain
representation in Washington, DC to support the mission of the NGO.”

A: “Our [MANAFORT and -GATES’] task was to assist the [Centre] find
representation in Washington, but at no time did our firm or members provide any
direct lobbying support.”

A: “The structure of the arrangement between the [Centre] and [Company A and
Company B] was worked out by the two parties.”

Q: “Can you say where the funding from for [sic] the [Centre] came from? (this
amounted to well over a million dollars between 2012 and 2014).” A: “This is a
question better asked of the [Centre] who contracted with the two firms.”

Q: “Can you describe the lobbying work specifically undertaken by [Company B]
on behalf of the Party of Regions/the [Centre]?” A: “This is a question better asked
to Company B and/or the [Centre] as the agreement was between the parties. Our

firm did not play a role in the structure, nor were we registered lobbyists.”
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Company B through a principal replied to GATES the same day that “there’s a lot of email traffic
that has you much more involved than this suggests[.] We will not disclose that but heaven knows
what former employees of [Company B] or [Company A] might say.”

25. In September 2016, after numerous recent press reports concerning MANAFORT, the
Department of Justice informed MANAl'"ORT, GATES, and DMI that it sought to determine
whether they had acted as agents of a foreign principal under the Foreign Agcnts Registration Act
(FARA), without registering In November 2016 and February 2017, MANAFORT, GATES, and
DMI caused false and misleading letters to be submitted to the Department of Justice, which
mirrored the false cover story set out above. The letters, both of which were approved by
MANAFORT and GATES before they were submittcd, represented, among other things, that:

0 DMI’s “efforts on behalf of the Party of Regions” “did not include meetings or
outreach within the U.S.”‘,

¢ MANAFORT and GATES did not “recall meeting with or conducting outreach
to U.S. government officials or U.S. media outlets on behalf of the {Centre], nor
do they recall being party to, arranging, or facilitating any such
communications Rather, it is the recollection and understanding of Messrs.
Gates and Manafort that such communications would have been facilitated and
conducted by the [Centre’s] U.S. consultants, as directed by the [Centre]. . . .”;

0 MANAFORT and GATES had merely served as a means of introduction of
Company A and Company B to the Centre and provided the Centre with a list
of “potential U.S.-based consultants_including [Company A] and [Company
B]-f,or the [Centre’s] reference and further consideration.”

0 DMI “does not retain communications beyond thirty days” and as a result of

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this policy, a “search has returned no responsive documents.” The November

2016 letter attached a one-page, undated document that purported to be a DMI

“Email Retention Policy.”
26. In fact, MANAFORT and GATES had: selected Company A and Company B; engaged in
weekly scheduled calls and frequent emails with Company A and Company B to provide them
directions as to specific lobbying steps that should be taken; sought and received detailed oral and
written reports from these firms on the lobbying work they had performed; communicated with
Yanukovych to brief him on their lobbying efforts ; both congratulated and reprimanded Company
A and Company B on their lobbying work; communicated directly with United States officials in
connection with this Work; and paid the lobbying firms over $2 million from offshore accounts
they controlled, among other things ln addition, court-authorized searches of MANAFORT and
GATES’ Dl\/H email accounts and MANAFORT’s Virginia residence in July 2017 revealed
numerous documents including documents related to lobbying, which were more than thirty-days

old at the time of the November 2016 letter to the Department of Justice.

MANAFORT And GATES’ Hiding Of Foreign Bank Accounts And False Filings

27 . United States citizens who have authority over certain foreign bank accounts -- whether or
not the accounts are set up in the names of nominees who act for their principals -- have reporting
obligations to the United States.

28. First, the Bank Secrecy Act and its implementing regulations require United States citizens
to report to the United States Treasury any financial interest in, or signatory authority over, any
bank account or other financial account held in foreign countries for every calendar year in Which

the aggregate balance of all such foreign accounts exceeds $10,000 at any point during the year.

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This is commonly known as a foreign bank account report or “FBAR.” The Bank Secrecy Act
requires these reports because they have a high degree of usefulness in criminal, tax, or regulatory
investigations or proceedings The United States Treasury’s Financial Crirnes Enforcement
Network (FinCEN) is the custodian for FBAR fllings, and FinCEN provides access to its FBAR
database to law enforcement entities, including the Federal Bureau of Investigation. The reports
filed by individuals and businesses are used by law enforcement to identify, detect, and deter
money laundering that furthers criminal enterprise activity, tax evasion, and other unlawful
activities.
29. Second, United States citizens also are obligated to report information to the IRS regarding
foreign bank accounts. For instance, in 2010 Form 1040, Schedule B had a “Yes” or “No” box to
record an answer to the question: “At any time during [the calendar year], did you have an interest
in or a signature or other authority over a financial account in a foreign country, such as a bank
account, securities account, or other financial account?” If the answer was “Yes,” then the form
required the taxpayer to enter the name of the foreign country in which the financial account was
located.
30. For each year in or about and between 2008 through at least 2014, MANAFORT had
authority over foreign accounts that required an FBAR report. Specifically, MANAFORT was
required to report to the United States Treasury each foreign bank account held by the foreign
MANAFORT-GATES entities noted above in paragraph 12 that bear the initials PM. No FBAR
reports were made by MANAFORT for these accounts.
31. For each year in or about and between 2008 through at least 2013, GATES had authority
over foreign accounts that required an FBAR report. Specifrcally, GATES was required to report
to the United States Treasury each foreign bank account held by the foreign MANAFORT-GATES
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entities noted above in paragraph 12 that bear the initials RG, as well as three other accounts in
the United Kingdom. No FBAR reports were made by GATES for these accounts

32. Furthermore, in each of MANAFORT’s tax filings for 2008 through 20l4, MANAFORT
represented falsely that he did not have authority over any foreign bank accounts MANAFORT
and GATES had repeatedly and falsely represented in writing to MANAFORT’s tax preparer that
MANAFORT had no authority over foreign bank accounts, knowing that such false
representations would result in false MANAFORT tax filings For instance, on October 4, 2011,
MANAFORT’s tax preparer asked MANAFORT in writing: “At any time during 2010, did you
[or your wife or_children] have an interest in or a signature or other authority over a financial
account in a foreign country, such as a bank account, securities account or other financial
account?” On the same day, MANAFORT falsely responded “NO.” MANAFORT responded the
same way as recently as October 3, 2016, when MANAFORT’s tax preparer again emailed the
question in connection with the preparation of MANAFORT’s tax returns: “Foreign bank accounts

etc.?” MANAFORT responded on or about the same day: “NONE.”

MANAFORT And GATES’ Fraud To lncrease Access To Offshore Mon_ey

33. After MANAFORT used his offshore accounts to purchase real estate in the United States,
he took out mortgages on the properties thereby allowing MANAFORT to have the benefits of
liquid income without paying taxes on it, Further, MANAFORT defrauded the banks that loaned
him the money so that he could withdraw more money at a cheaper rate than he otherwise would
have been permitted

34. In 2012, MANAFORT, through a corporate vehicle called “MC Soho Holdings, LLC”
owned by him and his family, bought a‘ condominium on Howard Street in the Soho neighborhood

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in Manhattan, New York. He paid approximately $2,850,000. All the money used to purchase
the condominium came from MANAFORT entities in Cyprus. MANAFORT used the property
from at least January 2015 through 2016 as an income~generating rental property, charging
thousands of dollars a week on Airbnb, among other places. In his tax returns, MANAFORT took
advantage of the beneficial tax consequences of owning this rental property.

35. In late 2015 through early 2016, MANAFORT applied for a mortgage on the condominium.
Because the bank would permit a greater loan amount if the property were owner-occupied,
MANAFORT falsely represented to the bank and its agents that it was a secondary home used as
such by his daughter and son-in-law and was not a property held as a rental property. For instance,
on January 26, 2016, MANAFORT wrote to his son-in-law to advise him that when the bank
appraiser came to assess the condominium his son-in-law should “[r]emember, he believes that
you and [MANAFORT’s daughter] are living there.” Based on a request from MANAFORT,
GATES caused a document to be created which listed the Howard Street property as the second
home of MANAFORT’s daughter and son-in-law, when GATES knew this fact to be false. As a
result of his false representations, in March 2016 the bank provided MANAFORT a loan for
approximately $3,185,000.

36. Also in 2012, MANAFORT -- through a corporate vehicle called “MC Brooklyn Holdings,
LLC” similarly owned by him and his family -- bought a brownstone on Union Street in the Carroll
Gardens section of Brooklyn, New York. He paid approximately $3,000,000 in cash for the
property. All of that money came from a MANAFORT entity in Cyprus. Aiter purchase of the
property, MANAFORT began renovations to transform it from a multi-family dwelling into a
single family home. In late 2015 through early 2016, MANAFORT sought to borrow cash against
the property. The institution MANAFORT went to for the loan provided greater loan amounts for

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“construction loans” -- that is, loans that required the loan amounts to be used to pay solely for
construction of the property and thus increase the value of the property serving as the loan’s
collateral. The institution would thus loan money against the expected completed value of the
property, which in the case of the Union Street property was estimated to be $8,000,000. In early
2016, MANAFORT was able to obtain a loan of approximately $5,000,000, after promising the
bank that approximately $l,400,000 of the loan would be used solely for construction of the Union
Street property. However, MANAFORT never intended to limit use of the proceeds to
construction as required by the loan contracts. In December 2015, before the loan was made,
MANAFORT wrote his tax preparer, among others, that the construction loan “will allow me to
pay back the [another Manafort apartment] mortgage in full. . . .” Further, when the construction
loan closed, MANAFORT used hundreds of thousands of dollars from the construction loan to

make a down payment on another property in California.

Statutog Allegations

emmons
(Conspiracy Against The United States)

37. Paragraphs l through 30 and 32 through 36 are incorporated here.

38. From in or about and between 2006 and 2017, both dates being approximate and inclusive,
in the District of Columbia and elsewhere, the defendants PAUL J. MANAFORT, JR., and
RICHARD W. GATES III, together with others, knowingly and intentionally conspired to defraud
the United States by impeding impairing, obstructing, and defeating the lawful governmental
functions of a government agency, namely the Department of Justice and the Department of the

Treasury, and to commit offenses against the United States, to wit, the violations of law charged

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in Counts Three through Six and Ten through 'I`welve.
39. In furtherance of the conspiracy and to effect its illegal object, MANAFORT and GATES
committed the overt acts noted in Count Eleven and the overt acts, among others, in the District of
Columbia and elsewhere as set forth in paragraphs 9, 16, 17, 20-25, 32, and 34-36, which are
incorporated herein.
(18 U.S.C. § 371)
Q.O_IH`J_I_.I_VX.Q
(Conspiracy To Launder Money)
40. Paragraphs l through 30 and 32 through 36 are incorporated here.
41. In or around and between 2006 and 2016, both dates being approximate and inclusive,
within the District of Columbia and elsewhere, the defendants PAUL J. MANAFORT, JR., and
RICHARD W. GATES III, together with others, did knowingly and intentionally conspire to:
(a) transport, transmit, and transfer monetary instruments and funds from places outside
the United States to and through places in the United States and nom places in the United
States to and through places outside the United States, with the intent to promote the
carrying on of specified unlawful activity, to wit: a felony violation of the FARA, in
violation of Title 22, United States Code, Sections 612 and 618 (the “Specified Unlawful
Activity”), contrary to Title 18, United States Code, Section 1956(a)(2)(A); and
(b) conduct financial transactions, affecting interstate and foreign commerce, knowing that
the property involved in the financial transactions would represent the proceeds of some
form of unlawful activity, and the transactions in fact would involve the proceeds of
Specified Unlawful Activity, knowing that such financial transactions were designed in
whole and in part (i) to engage in conduct constituting a violation of sections 7201 and

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7206 of the Internal Revenue Code of 1986, and (ii) to conceal and disguise the nature,

location, source, ownership, and control of the proceeds of the Specified Unlawful

Activity, contrary to Title 18, United States Code, Section l956(a)(l)(A)(ii) and

l956(a)(1)(B)(i).

(18 U.S.C. § 1956(h))
COUNTS THREE THROUGH SIX
(Fa.ilure To File Reports Of Foreign Bank And Financial
Accounts For Calendar Years 2011-2014)

42. Paragraphs 1 through 30 and 32 through 36 are incorporated here.
43. On the filing due dates listed below, in the District of Columbia and elsewhere, the
defendant PAUL J. MANAFORT, JR., unlawfully, willfully, and knowingly did fail to file with
the Department of the Treasury an FBAR disclosing that he has a financial interest in, and signature
and other authority over, a bank, securities, and other financial account in a foreign country, which
had an aggregate value of more than $l0,000, while violating another law of the United States and
as part of pattern of illegal activity involving more than 8100,000 in a l?.-month period, during the

years listed below:

 

 

 

 

 

coUN'r YEAR 1 ‘ . _~".~`1 §iil`iii:;i).d'rn To Frf.E FBAR
3 2011 runs 29, 2012
4 2012 June 30, 2013
s 2013 June 30, 2014
6 2014 June 30, 2015

 

 

 

 

 

(31 U.S.C. §§ 5314 and 5322(b); 18 U.S.C. § 2)

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COUNTS SEVEN THROUGH NINE
(Failurc To File Reports Of Foreign Bank And Financial
Accounts For Calendar Years 2011-2013)
44. Paragraphs 1 through 29 and 31 through 36 are incorporated here.
45. On the filing due dates listed below, in the District of Columbia and elsewhere, the
defendant RICHARD W. GATES III unlawfully, willfully, and knowingly did fail to file with the
Department of the Treasury an FBAR disclosing that he has a financial interest in, and signature
and other authority over, a bank, securities, and other financial account in a foreign country, which
had an aggregate value of more than 810,000, while violating another law of the United States and

as part of pattern of` illegal activity involving more than 8100,000 in a lZ-month period, during the

years listed below:

 

 

 

 

coUNT YEAR}. f x » ' 'DUE DATE\To FILE FBAR
7 2011 nme 29, 2012
s 2012 mae 30, 2013
9 2013 June 30, 2014

 

 

 

 

 

(31 U.S.C. §§ 5314 and 5322(b); 18 U.S.C. § 2)
COUNT TEN
(Unregistered Agent Of A Foreign Principal)
46. Paragraphs l through 36 are incorporated here.
47. From in or about and between 2008 and 2014, both dates being approximate and inclusive,
within the District of Columbia and elsewhere, the defendants PAUL J. MANAFORT, JR., and
RICHARD W. GATES III knowingly and willfully, without registering with the Attorney General

as required by law, acted as agents of a foreign principal, to wit, the Government of Ukraine, the
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Party of Regions, and Yanukovych.
(22 U.S.C. §§ 612 and 618(a)(1); 18 U.S.C. § 2)
COUNT ELEVEN
(False and Misleading FARA Statements)

48. Paragraphs l through 36 are incorporated here.

49. On or about November 23, 2016 and February 10, 2017, within the District of Columbia
and elsewhere, the defendants PAUL J. MANAFORT, JR., and RICHARD W. GATES III
knowingly and willfully caused to be made a false statement of a material fact, and omitted a
material fact necessary to make the statements therein not misleading, in a document filed with
and furnished to the Attorney General under the provisions of FARA, to wit the underlined

statements:

0 “[DMI|’s efforts on behalf of the PBy of Regions and Opposition Bloc d_i;l_r_ipt
include meetings or outreach within the U.S.”

0 “|Bleither |QML| nor Messrs. Manafort or Gates had any agi_'eement with the
|Centre| to provide services.”

0 “lDMIl did provide the [Centrel. at the request of members of the Party of Regions,
With a list of potential U.S.-based consultants-including [Company A and
Company B]-for the [Centrel’s reference and further consideration [The Centrel
then contracted directly with lCompanv A and Company Bl to provide servic§
within the United States for which these entities registered under the Lobbying
Disclosure Ac .”

0 “To Gates’ recollection these efforts included providing policy brieingsto the

|Centre| and its consultants on key initiatives and political developments in

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Ukraine, including participation in and/or coordination of related conference calls

and meetings Although Gates recalls interacting with |the Centre|'s consultants
regarding efforts in the Ukraine and Europe, neither Gates nor Mr. Manafort recall

meeting with or conducting outreach to U.S. government officials or U.S. media

outlets on behalf of the |the Centre |, nor do they recall being party to, arranging, or
facilitating any such communications Rather, it is the recollection and
understanding of Messrs. Gates and Manafort that such communications would
have been facilitated and conducted by the |Centre| ’s U.S. consultants, as directed

by the [Centrel. pursuant to the agreement reached between those parties (to which

|DMI| was not aparty).”

¢ “[Al search has been cgl_ducted for correspondence containing additional

information related to the matters described in |the government’s| Letters.
However, as a result of |DMl’s| Email Retention Policy, which does not retain
communications beyond thigy days, the search has returned no responsive

communications.”

(22 U.s.c. §§ 612, 618(3)(2); 18 u.s.c. § 2)

COUNT TWELVE
(False Statements)

Paragraphs 1 through 36 and paragraph 49 are incorporated here.

On or about November 23, 2016 and February 10, 2017, within the District of Columbia

and elsewhere, in a matter within the jurisdiction of the executive branch of the Government of

the United States, the defendants PAUL J. MANAFORT, JR., and RICHARD W. GATES III

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~ knowingly and willfully did cause another: to falsify, conceal, and cover up by a scheme and device
a material fact; to make a materially false, fictitious, and fraudulent'statement and representation;
and to make and use a false writing and document knowing the same to contain a materially false,
fictitious, and fraudulent statement, to wit, the statements in the November 23, 2016 and February
10, 2017 submissions to the Department of Justice quoted in paragraph 49.

(18 U.s.C. §§ 2, 1001(a))

§QRFEITURE ALLEGATION
52. Pursuant to Fed. R. Crim. P. 32.2, notice is hereby given to the defendants that the United
States will seek forfeiture as part of any sentence in accordance with Title 18, United States Code,
Sections 98l(a)(1)(C) and 982(a)(1) and (a)(2), and Title 28, United States Code, Section 2461(0),
in the event of the defendants’ convictions under Count Two of this Indictment. Upon conviction
of the offense charged in Count Two, the defendants PAUL J. MANAFORT, JR., and RICHARD
W. GATES lII shall forfeit to the United States any property, real or personal, involved in such
offense, and any property traceable to such property. Upon conviction of the offenses charged in'l
Counts Ten and Eleven, the defendants PAUL J. MANAFORT, JR., and RICHARD W. GATES
HI shall forfeit to the United States any property, real or personal, which constitutes or is derived
from proceeds traceable to the offense(s) of conviction, Notice is further given that, upon
conviction, the United States intends to seek a judgment against each defendant for a sum of money
representing the property described in this paragraph, as applicable to each defendant (to be offset
by the forfeiture of any specific property),
53. The grand jury finds probable cause to believe that the property subject to forfeiture by
PAUL J. MANAFORT, JR., includes, but is not limited to, the following listed assets:

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a. The real property and premises commonly known as 377 Union Street, Brooklyn?
New York, 11231 (Block 429, Lot 65), including all appurtenances, improvements, and
attachments thereon, and any property traceable thereto;

b. The real property and premises commonly known as 29 Howard Street, #4D, New
York, New York, 10013 (Block 209, Lot 1104), including all appurtenances,
improvements, and attachments thereon, and any property traceable thereto;

c. The real property and premises commonly known as 1046 N. Edgewood Street,
Arlington, Virginia, 22201, including all appurtenances improvements, and attachments
thereon, and any property traceable thereto ;

d. The real property and premises commonly known as l74 Jobs Lane, Water Mill,
New York 11976, including ali appurtenances improvements, and attachments thereon,
and any property traceable thereto; and

e. Northwestern Mutual Universal Life Insurance Policy 18268327.

Substitute Assets
54. If any of the property described above as being subject to forfeiture, as a result of any act or
omission of any defendant --
a_ cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or
e. has been commingled with other property that cannot be subdivided without
difficulty;

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it is the intent of the United States of America, pursuant to Title 18, United States Code, Section
982(b) and 'l`itle 28, United States Code, Section 2461(c), incorporating Title 21, United States
Code, Section 853, to seek forfeiture of any other property of said defendantl

(18 U.s.C. §§ 981(&)(1)(€)311¢1 982; 28 U.s.c. § 2461(¢))

what ..1

Robert S. Mueller, 111
Special Counsel
Department of Justice

A TRUE BILL°

    

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Date./ October 27, 2017

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